        Case 18-10822-JCM                      Doc      Filed 10/02/23 Entered 10/02/23 11:20:10                               Desc Main
 Fill in this information to identify the case:         Document      Page 1 of 8
 Debtor 1          Morris J. Nelson
                   __________________________________________________________________

 Debtor 2              Lorie K. Nelson
                       ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Western                Pennsylvania
                                         __________ District of __________

 Case number           18-10822-GLT
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                       10
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          8 ____
                                                        ____ 1 ____
                                                                 0 ____
                                                                     0               Must be at least 21 days after date       11/1/2023
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                 617.35
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     181.14
                   Current escrow payment: $ _______________                       New escrow payment:                   182.99
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Morris     J. Nelson
                 _______________________________________________________                                  18-10822-GLT
                                                                                       Case number (if known) _____________________________________
                 First Name    Middle Name     Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/s/ Evan Durkovic
     _____________________________________________________________
     Signature
                                                                                       Date   09/22/2023
                                                                                              ___________________




 Print:            Evan  Durkovic
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           Six Piedmont Center, 3525 Piedmont Road, N.E., Suite 700
                   _________________________________________________________
                    Number           Street

                   Atlanta                         GA      30305
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (404 ) 994-7400
                   ________________________                                                  edurkovic@aldridgepite.com
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
                                                         REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 2
        Case 18-10822-JCM
                        MidlandDoc     Filed 10/02/23 Entered 10/02/23 11:20:10
                                Mortgage                                                                        Desc Main
                        P.O. Box 26648 Document      Page 3 of 8
                                Oklahoma City, OK 73126-0648
                                                                                        Loan number:
                                                                                                642 ELK STREET
                                                                                             FRANKLIN PA 16323
                                                                                       Date Reviewed: 08/08/2023
                                                                           Next Escrow Cycle: Nov 2023 - Oct 2024


      LORIE K NELSON
      MORRIS J NELSON
      PO BOX 966
      C/O DANIEL P FOSTER ATTY
      MEADVILLE PA 16335




                                           Escrow Account Statement
Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                   pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
this
                   your loan documents. This statement shows how those expenses affect the amount of your monthly
statement?         mortgage payment.
Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

What do I          Please review your escrow statement below. The “Escrow Surplus” section gives the amount of your
need to do         escrow surplus and explains the status of your surplus funds. The last page of this statement includes
next?              helpful answers to common escrow questions.

Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                   currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
Notices
                   from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                   obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                   Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                   an attempt to collect a debt, and any information obtained will be used for that purpose.

                   Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                   Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                   that purpose.



New Monthly Mortgage Payment
The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
has changed. Because of this, your mortgage payment has changed to $617.35 beginning with the 11/1/2023
mortgage payment.

Monthly Payment                                             Old Payment                  New Payment                  Change
Principal & Interest                                        $434.36                      $434.36                      None
Escrow Deposit plus Escrow Shortage or Surplus              $181.14                      $182.99                      Increase
Total Monthly Mortgage Payment                              $615.50                      $617.35                      Increase

Escrow Bills and Escrow Payment
The following chart shows the breakdown of the amounts we expect to pay from your escrow account between
November 2023 and October 2024.

Escrow Bills                                                                     Amount
Homeowners Ins                                                                   $443.00
County Tax                                                                       $297.41
City/Town Tax                                                                    $682.74
School District                                                                  $772.73
Annual Total                                                                     $2,195.88
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Required Minimum Balance
The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
documents, federal and/or state law. The new required minimum balance in your escrow account is $365.98

                               Your lowest expected escrow balance:                                                                     $699.17
                               Your required minimum balance                                                                            $365.98
                               The difference creates a surplus in your escrow account of:                                              $333.19
Because the lowest expected balance is higher than the required minimum balance, there is a surplus of $333.19 in your account.
This surplus is illustrated in the table below, and can be found by calculating the difference in the bolded numbers in the
Anticipated Balance and Required Balance columns.


Expected Escrow Account Transactions
The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
account reviewed to avoid a large shortage or surplus in the future.

                         EXPECTED PAYMENTS             EXPECTED PAYMENTS                                              ANTICIPATED     REQUIRED
    MONTH-YEAR               TO ESCROW                    FROM ESCROW                 DESCRIPTION                        BALANCE       BALANCE
                                                                                      Starting Balance                    $1,065.15      $731.96
     Nov-23                    $182.99                        $0.00                                                       $1,248.14      $914.95
     Dec-23                    $182.99                        $0.00                                                       $1,431.13     $1,097.94
     Jan-24                    $182.99                        $0.00                                                       $1,614.12     $1,280.93
     Feb-24                    $182.99                        $0.00                                                       $1,797.11     $1,463.92
     Mar-24                    $182.99                        $0.00                                                       $1,980.10     $1,646.91
     Apr-24                    $182.99                        -$297.41                COUNTY TAX                          $1,865.68     $1,532.49
     Apr-24                    $0.00                          -$682.74                CITY/TOWN TAX                       $1,182.94      $849.75
     May-24                    $182.99                        -$443.00                HAZARD                               $922.93       $589.74
     Jun-24                    $182.99                        $0.00                                                       $1,105.92      $772.73
     Jul-24                    $182.99                        $0.00                                                       $1,288.91      $955.72
     Aug-24                    $182.99                        -$772.73                SCHOOL DISTRICT                      $699.17       $365.98
     Sep-24                    $182.99                        $0.00                                                        $882.16       $548.97
     Oct-24                    $182.99                        $0.00                                                       $1,065.15      $731.96
     Total                     $2,195.88                      -$2,195.88


Escrow Account History
This chart shows the estimated and actual activity in your escrow account from 5/1/23 through 10/1/2023. If the servicing of your
loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
chart below.

                    PAYMENTS TO                                       PAYMENTS FROM                                                   ESCROW
                      ESCROW                                             ESCROW                                                       BALANCE
 MONTH-
                                 Actual                                                  Actual             Description                        Actual
  YEAR
                                                                                                  Starting Balance                                -$7.79
  May-23                            $0.00                                                   $0.00                                                 -$7.79
  Jun-23                         -$661.73                                                   $0.00                                              -$669.52
  Jul-23                         $543.42                                                    $0.00                                              -$126.10
  Aug-23                         $181.14                                                 -$772.73      SCHOOL DISTRICT*                        -$717.69
  Aug-23                            $0.00                                                -$333.19        ESC ANA REFUND                       -$1,050.88
  Sep-23                            $0.00                                                   $0.00                                             -$1,050.88
  Oct-23                            $0.00                                                   $0.00                                             -$1,050.88
   Total                           $62.83                                              -$1,105.92

* The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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Frequently Asked Escrow Account Questions
Q1 What is an escrow account?
  Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
  includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
  your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
  With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
  documents every month instead of once or twice a year.

Q2 Why did Midland change my monthly mortgage payment amount?
  Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
  mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
  mortgage payment are usually because of changes in your taxes or insurance.
      Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
      rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
      taxing authority if you have questions about changes to your property taxes.
      Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
      your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
      your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
      You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
      insurance bills and your options.

Q3 How often will my escrow payment change?
  Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
  we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
  more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
  insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

Q4 Will my automatic payments change to cover my new payment amount?
  If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
  amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
  payment administrator and ask them to update your payment to the new amount.

Q5 What should I do if I think my escrow bills are wrong?
  You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
  has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
  taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

Q6 What are my options if my payment increased and I can’t afford a higher mortgage
   payment?
  If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
  us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




Visit www.MyMidlandMortgage.com/Escrow for additional
helpful answers to frequently asked escrow questions or
             contact us at 1-800-654-4566.
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      ALDRIDGE PITE, LLP
      8880 Rio San Diego Drive, Suite 725
      San Diego, CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

                             WESTERN DISTRICT OF PENNSYLVANIA - ERIE
      In re                                           Case No. 18-10822-GLT
      MORRIS J. NELSON and LORIE K.                   Chapter 13
      NELSON,
                                                      PROOF OF SERVICE
                       Debtor(s).


              I, Melissa Gonzalez, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: Six Piedmont Center, 3525
     Piedmont Road, N.E., Suite 700 Atlanta, GA 30305. I am over the age of eighteen years and not

     a party to this case.

              On October 2, 2023, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.



                                                     /s/Melissa Gonzalez
                                                     Melissa Gonzalez




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     PROOF OF SERVICE
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                                           SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Morris J. Nelson
     Lorie K. Nelson
     642 Elk Street
     Franklin, PA 16323

     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     Daniel P. Foster

     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     Ronda J. Winnecour

     U.S. TRUSTEE
     (VIA ELECTRONIC NOTICE)
     Office of the United States Trustee




                                               -2-
     PROOF OF SERVICE
